                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                    CRIMINAL DOCKET NO.: 3:01CR216-3-V

UNITED STATES OF AMERICA        )
                                )
           vs.                  )                   ORDER
                                )
LESTER A. BLAKENEY,             )
           Defendant.           )
________________________________)

      THIS MATTER is before the Court on Defendant’s “Motion To Obtain Copy Of

Judgment And Committal Order”, filed May 18, 2005. For good cause shown, Defendant’s

request will be granted.

      IT IS, THEREFORE, ORDERED that Defendant’s Motion is hereby GRANTED.

Accordingly, the Deputy Clerk shall forward a copy of the Defendant’s Judgment to the

Defendant at no cost.




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                         Signed: June 16, 2005




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